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                  IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE DISTRICT OF DELAWARE

                                                             )
    In re:                                                   )     Chapter 7
                                                             )
    ART VAN FURNITURE., et al.,1                             )     Case No. 20-10553 (CSS)
                                                             )
                                                             )     Jointly Administered
                                                             )
                             Debtors.                        )     Docket No. _____
                                                             )

                 ORDER GRANTING AMENDED MOTION OF
                BANC OF AMERICA LEASING & CAPITAL, LLC
             TO COMPEL PAYMENT OF ADMINISTRATIVE CLAIM
                 FOR POST-PETITION LEASE OBLIGATIONS

        Upon consideration of the Motion of BANC OF AMERICA LEASING &

CAPITAL, LLC (“BALC”) to Compel Payment of Post-Petition Lease Obligations

and Motion for Relief from Stay Concerning Personal Property, dated June 19, 2020

(Docket No. 679), as further amended by the Amended Motion of Banc of America

Leasing & Capital, LLC to Compel Payment of Administrative Claim for Post-

Petition Lease Obligations (the “Amended Motion”); with the Court having found

that it has jurisdiction over the Motion pursuant to 28 U.S.C. § 1334; that venue of

the Amended Motion is proper in this Court pursuant to 28 U.S.C. § 1409; that the


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  The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number,
include: Art Van Furniture, LLC (9205); AVF Holding Company, Inc. (0291); AVCE, LLC (2509); AVF Holdings
I, LLC (2537); AVF Holdings II, LLC (7472): AVF Parent, LLC (3451); Levin Parent, LLC (8052); Art Van
Furniture of Canada, LLC (9491); AV Pure Sleep Franchising, LLC (8968); AVF Franchising, LLC (6325); LF
Trucking, Inc. (1484); Sam Levin, Inc. (5198); and Comfort Mattress LLC (4463). The location of the Debtors’
service address in these Chapter 11 cases is: 6500 East 14 Mile Road, Warren, Michigan 48092.
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Amended Motion is a core matter under 28 U.S.C. § 157 (b)(2); and the Court having

found that notice of the Amended Motion was given in accordance with the

applicable Federal Rules of Bankruptcy Procedure and the Local Bankruptcy Rules;

and the Court, having reviewed the Amended Motion and having considered the

statements of counsel with respect to the Amended Motion at the hearing, if any; and

the Court having considered any objections to the requested relief; and after due

deliberation, and good and sufficient cause appearing, it is hereby ORDERED that:


      1. The Amended Motion is GRANTED as described in this Order.

      2. BALC shall have the following allowed administrative priority expense

         claims (the “Administrative Claims”):

         (a)    $147,728.11 for unpaid rents owed to BALC for the period after the

                March 8, 2020 Petition Date and before the August 13, 2020

                Rejection Date;

         (b)    $115,912.28 for the Stipulated Loss Value for the Missing Vehicles;

         (c)    $19,114.36, for the costs incurred to date by BALC for the repairs

                to the Repaired Vehicles and transporting the Vehicles;

         (d)    The additional costs and expenses which may still be incurred by

                BALC in repairing, transporting, and selling the Vehicles at auction;




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3. The Chapter 7 Trustee shall pay BALC the Administrative Claims

   described in Paragraphs 2(a) through (c) within ten days of the entry of this

   Order.

4. The Chapter 7 Trustee shall pay BALC the Administrative Claims

   described in Paragraph 2(d) within ten days BALC presenting the Chapter

   7 Trustee with costs and expenses described in Paragraph 2(d).

5. This Court shall retain jurisdiction with respect to all matters arising from

   or related to the implementation of this Order.



                          ____________________________________
                          Honorable Christopher S. Sontchi
                          United States Bankruptcy Court




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